Case 3:20-cr-00079-DPJ-FKB Document 1-2 Filed 06/23/20 Page 1 of1

CRIMINAL CASE COVER SHEET
U.S. District Court
PLACE OF OFFENSE:

  
    

; STE ISTON
RELATED CASE INFORMATION: 4°" eee
CITY: SUPERSEDING INDICTMENT BY E
SAME DEFENDANT New DEFENDANT
COUNTY: Hinds MAGISTRATE JUDGE CASE NUMBER

R 20/ R 40 FROM DISTRICT OF

 

DEFENDANT INFORMATION:

JUVENILE: YES_xX__NOo
MATTER TO BE SEALED: YES x NO
NAMB/ALIAS: Newton Wade Townsend

 

 

U.S. ATTORNEY INFORMATION:

AUSA Meghan M. McCalla BAR # TX 24070232
INTERPRETER: x__NO YES LISTLANGUAGE AND/OR DIALECT:

 

LOCATION STATUS: ARREST DATE

ALREADY IN FEDERAL CUSTODY AS OF
ALREADY IN STATE CUSTODY
ON PRETRIAL RELEASE

 

U.S.C. CITATIONS

 

 

 

 

 

 

 

 

 

 

 

 

 

TOTAL # OF COUNTS: 1 PETTY MISDEMEANOR 1 FELONY
(CLERK'S OFFICE USE ONLY) INDEX KEY/CODE DESCRIPTION OF OFFENSE CHARGED COUNT(S)
Set 1 18:115.F 18 U.S.C. § 115(a)(1)(B) Threats Against a Federal Official 1
Set 2

Set 3

Set 4

Set 5

 

 

 

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Date: lL, 7 [Ge Lé 20 SIGNATURE OF AUSA: Wl Dd (Lh

(Revised 2/26/10)
